Case 3:18-cv-13110-GC-TJB Document1-4 Filed 11/03/17 Page 1 of 2 PagelD: 31

Abraham Mykoff, Pro Se

401 North Fifth Avenue

Edison, New Jersey 08817
848-202-2122

E-mail: abrahammykoff@protonmail.com

UNITED STATES DISTRICT COURT
in and for the SOUTHERN DISTRICT OF NEW YORK

Abraham Mykoff, individually CASE NO,:
Ron Greenberg, individually

Plaintiffs, CERTIFICATION OF TIMELY FILING
VS.

HOME DEPOT, INC.; COURI, aka

Cuori International (H.K.) Ltd., aka

Cuori Group, aka Ningbo Prince Electric
Appliance Co. Ltd., aka Millan Stylee

Alan Kape, aka owner, Kape Insurance

Agency, Individually, and, in official capacity
Scott Fluger, Kape insurance Agency,
Individually, and in official capacity

Philadelphia Insurance Companies, aka
Philadelphia Consolidated Holding Corp.

aka Tokio Marine Holdings, Inc.;

Jim Cahill, Mayor, The City of New Brunswick
Individually and in official capacity Middlesex
Board of County Commissioners, Robert

Rawis, Director, The City of New Brunswick

Fire Department, Individually and in official capacity,
Charles E. Tomaro, Freeholder Deputy Director,
Middlesex County's Board of Chosen Freeholders,
Individually and in Official Capacity

Christoper Paladino, DEVCO, Individually and in
official capacity, Mitch Karon, Executor Director,
New Brunswick Parking Authority, Individually and
in official capacity, Board of Commissioners New
Brunswick Parking Authority, Leonard T. Bier,
Board, Individually and in Official Capacity,
Leonard T. Bier, General legal counsel for New
Brunswick Parking Authority, Individually and in
Case 3:18-cv-13110-GC-TJB Document1-4 Filed 11/03/17 Page 2 of 2 PagelD: 32

Official Capacity. Bier Associates, Individually
and in Official Capacity, New Brunswick Parking
Authority Board Board of Commissioners,
DOES 7 to 100,

Defendants,
CERTIFICATION OF TIMELY FILING OF COMPLAINT

i, Abraham Mykoff, Plaintiff and appearing Pro Se, do hereby certify and say:

1. 1, Abrahm Mykoff, Plaintiff and appearing Pro Se, having the Complaint typed
experienced acute and chronic hacking. A total of six computers crashed with
hard drives replaced ail to no avail from September 2017 through 20" October 2017.
All USB thumb drives were corrupted. The hackers were able to bypass Kaspersky
End Point Security, and | do not have the level of knowledge or anyone else that |

know to have resolved this issue til 30" October 2017.

| declare under penalty of perjury under the laws of the United States that the

Abraham Mykoff, Pro § eS yp
401 North Fifth Avenue

Edison, New Jersey 08817
848-202-2122

e-mail: abrahammykoff@protonmail.com

forgoing is true and correct.

22™ October 2017

